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Schedule of Non-Income Deposits (All Bank Accounts) M. Albers
Dana Jarvis 11-15-06
1999 - 2005
. Date ~ Description” ‘Accc __ Amount ‘Reference _
01/04/99 [Unknown Check —~—~*« BofA ...2936 $110.00 N-187
02/02/99 |Unknown Check _ BofA ...2936 $104.75 N-187
| 03/02/99 |Unknown Check BofA ...2936 $189.35 | ____|N-187 5
04/05/99 [Unknown Check __ [BofA ...2936 $1,339.00 | N-187 |
| 04/09/99 on Unknown Check ____|BofA ...2936 $20.00 |N-187
04/13/99 U.S. Treasury BofA ...8357 $565.00 55
| 04/21/99 |Unknown Check BofA ...2936 | $50.00 N-187_
05/26/99 | Unknown Check BofA ...2936 $133.15 N-187
| 06/02/99 _|Unknown Check ‘BofA ...2936 $280.00 | | 'N-187
07/08/99 |Unknown Check BofA ...2936 $61.00 | N-187
| 08/25/99 {City of ABQ BofA ...8357 $68.05 55
| 08/25/99 |Hotel Santa Fe BofA ...8357 $276.61 (55
09/13/99 |Unknown Check BofA ...2936 $490.25 N-187
| 10/13/99 Donrey Media 2. Group ‘BofA .- 2936 | . $2,000.00 38
10/13/99 ~“o 3 pe ae oe ($2,000.00) Already reflected in Sch. EIncome 85
10/26/99 | Bowlin IBofA ...293 | $1,700.00 38
| 10/26/99 : 5 ee ee ($1,700.00)|Already reflected in Sch. E Income [85
| Totaloo | | __ $3,687.16
{——— { oo
| 01/27/00 ((*) BofA ...2936 $90.45 38 P4624
02/01/00 {Bowlin BofA ...2936 $1,700.00 |Not claimed as income on tax return (38 P4625
02/03/00 _Donrey Media Group |BofA ...2265 | $2,000.00 37 Section 2 T_ 129
05/08/00 | (*) BofA ...2936 $24.00 | 38 P5928
| 06/29/00 |Benrique De Mars Glidden |BofA ...2936 $75.00 |3rd Party Check |38 P5935
07/14/00 |Refund Monthly Maint. Fee BofA ...2265 $5.00 137 [ 77
|_ 08/04/00 | Return of Posted Check BofA ...2265 $176.40 37 80 |
09/05/00 _ |(*) BofA ...2936 $25.00 [38 P5914
11/22/00 | Charter Bank BofA ...8357 $1,111.97 55 105-108
11/22/00 [Farmers Insurance BofA ...8357 $171.07 | 55 105-108 |
| 11/22/00 _|Farmers Insurance BofA ...8357 — $158.90 | 55 105-108 |
11/22/00 [National Geographic BofA ...8357 $29.00 _ (55 | _ 105-108
| 11/22/00 | St. Paul Fire and Marine insurance | BofA ...8357 $81.00 55 105-108
11/22/00 [State of Colorado BofA ...8357 $9.00 | 55 | __ 105-108
GOVERNMENT
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Schedule of Non-income Deposits (All Bank Accounts)

Dana Jarvis
1999 - 2005

M. Albers
11-15-06

| 11/22/00 | State of New Mexico

‘Description =

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age# _|

TBofA ...8357

$947.00 T

55 105-108

| 12/29/00 | Valley National Bank — _ (1st State ...3801 } $3,040.49 |Longshadows Cashier's Check 3 143,144 |
Total 00 |_ $9,644.28 | |

_ iota ___ | TT fp

| 01/12/01 |Allsups Money Order 1st State ...3801 $800.00 Cathy Morgan rent on 28 Quail Run (44 146,147 |
01/31/01 _|Bowlin BofA ...2936 | $1,700.00 38 P4612, P4631
02/20/01 |Albertson's Money Order 1st State ...3801 $850.00 Cathy Morgan rent on 28 Quail Run |44 149, 150

| 02/26/01 |Media Company _ BofA ...2936 $2,000.00 | 38 P5028

| 03/05/01 _|(*) BofA ...2936 $1,700.00 | Bowlin ??? 38 | P4637

| 03/05/01 |Brown & Brown of NM BofA ...2936 $700.54 38 P4637 4
03/05/01 | Traveler's Express Money Order _| 1st State ...3801 $1,000.00 Felicia Davis rent on Cielo Vista 44 | __151

| 04/03/01 |Carpenters 528 Storage BofA ...8357 $11 ay 55 | 136
04/16/01 | Joe Maloof and Company BofA ...2936 $404.64 38 7 P4610
04/27/01_|US Postal Money Orders 1st State ...3801 $850.00 Cathy Morgan rent on 28 Quail Run |44 157

| 05/07/01 (Official Check 1st State ...3801 $2,000.00 Felicia Davis rent on Cielo Vista 44 158
05/11/01 {US Postal Money Orders 1st State ...3801 $850.00 Cathy Morgan rent on 28 Quail Run |44 159
06/20/01 _| Farmers Insurance BofA ...8357. sid $27.67 | _ 55 174, 176
06/20/01 | Territorial Abstract & Title Co BofA ...8357 $5,000.00 _ |55; 56 174-175; 79

Itemized seperately on the Schedule

06/20/01 {Territorial Abstract & Title Co —— Neota ... 8357 ($5,000.00) of Unexplained Source of Funds
07/17/01 |Victoria Secret BofA ...8357 $137.55 |3rd Party Check 55 192, 194 |

| 07/17/01 | Vigil Contracting Services BofA ...8357 $92.48 |3rd Party Check 55 | 192, 195
07/25/01_|Advantage Rent A Car BofA ...2936 $500.00 |Check Card Return 38 | 91
07/25/01 | Advantage Rent A Car BofA ...2936 $500.00 |Check Card Return 138 | 91
07/25/01 _jAdvantage Rent A Car BofA ...2936 $500.00 |Check Card Return 138 91
07/25/01 _|Advantage Rent A Car BofA ...2936 $500.00 |Check Card Return 38 91 |
07/25/01 |Advantage Rent A Car BofA ...2936 $417.00 |Check Card Return 38 91 |
07/25/01 |Advantage Rent A Car BofA ...2936 $407.26 |Check Card Return 38 91 |
07/25/01 |Advantage Rent A Car BofA ...2936 $200.00 |Check Card Return 138 91
08/02/01 | Farmers insurance [BofA ...8357 $135.40 | Todd Ward 55 197, 199
08/02/01_|Farmers Insurance BofA ...8357 $120.80 |Todd Ward 55 197, 200
08/02/01 |Farmers Insurance BofA ...8357 $115.20 |Todd Ward 55 197, 201

| 08/02/01 |PNM BofA ...8357 | $107.21 |Todd Ward [55 197, 202

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Dana Jarvis 11-15-06
1999 - 2005
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08/07/01 _|Farmers Insurance $174.48, 55 +t 203, 204
08/10/01 |Refund Adjustment oe $36.16 38 94
08/17/01 |Farmers Insurance BofA ...8357 | $259.00 55 : 222, 223
09/07/01 / Territorial Abstract & Title Co BofA ...8357 of $26.37 | [55 228, 230
10/01/01 | Albertson's Money Order 1st State ...3801 $850.00 Cathy Fitzgerald rent on 28 Quail Rui44 172
| 10/09/01 | Diana Schultz BofA...2936 | $17.00 | 38 P4998
| 10/09/01 |Veneklasen Property Management | BofA ...8357 $661.98 | (55 | 241, 242
12/17/01 |Debit General Ledger ist State ...3801 $2,625.00 [First State Bank Acct #4105 44 181
12/17/01 |State of NM Human Services 1st State...3801 $225.00 |Catheryn Fitzgerald 44 | 181
12/27/01 |St. Michaels High School BofA ...8357 $2,400.00 55 274, 275
Total 01 $23,902.05
| 01/08/02 |New Mexico Mutual BofA ...8357 $16.00 __|55 | 276, 277
01/08/02 |Thaddeus Verchinski BofA ...8357 $1,000.00 ‘(55 276, 278
02/05/02 _| Farmers Insurance BofA ...8357 $37.34 55 296, 297
02/05/02 Farmers Insurance BofA ...8357 $39.30 55 | 296,298 |
| 02/11/02 |New Mexico Mutual ist State...3801 $19.00 | 44 — 194
02/19/02 |Clear Channel! Worldwide BofA ...2936 $2,000.00 38 P4710
02/19/02 |Lamar Companies BofA ...2936 $1,700.00 |Club R&B 38 P4711
| 02/28/02 _| State of Colorado 1st State ...3801 $13.00 44 196
03/01/02 |Farmers Insurance tst State ...3801 $7,895.25 |Payable to Geno Berthod 144 197
04/08/02 |Leslie Warner BofA ...2936 $1,000.00 | 38 P4727
05/24/02 Fairbanks Capital Corp ___|First State ...4527 $969.15 43 P402
05/24/02 |U.S. Treasury First State ...4527 $2,071.93 |12/98 Club R&B 43 P402
05/30/02 |Return of Posted Check BofA ...2265 $1,127.26 37 165
| 05/30/02 |Return of Posted Check BofA ...2265 | _—- $277.05 37 165
05/31/02 | Return of Posted Check ‘BofA .-2265 $613.82 37 | __ 165
05/31/02 {Return of Posted Check BofA ...2265 $85.65 37 166
06/02/02 | Return of Posted Check BofA ...2265 | $393.80 37 168
07/01/02 |Community Bank 1st State ...3801 | _ $7,300.00 |Willow Adams Cashier's Check 44 211,212 |
07/12/02 [Return of Posted Check BofA ...2265 | $82.04 __|87 173 |
07/16/02 |Return of Posted Check __ | BofA ...2265 $503.39 37 | 173
08/16/02 | Merrick Bank Corp |First State ...4527 $202.77 2 | P413, P414 |

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Schedule of Non-income Deposits (All Bank Accounts) M. Albers

Dana Jarvis 11-15-06
1999 - 2005
Accoun “
| | Willow Adams payee; Dakota
08/16/02 |National City Bank ist State ...3801 | $9,465.25 |Fitzner Insured 44 215
08/16/02 | Territorial Abstract & Title Co 1st State ...3801 | $5,000.00 | 44 215 |
| 10/08/02 |Merrick Bank Corp ‘| First State ...4527 $1,254.33 43 P425
11/08/02 | John Fegan __ [BofA ...2936 $25.00 38 P4906 __|
| 11/18/02 |Roto Rooter First State ...4527 $25.00 43 P431
| 12/06/02 _|Ingri McKinley First State ...4527 $50.00 |Loan Payment 43 P437_
| 12/11/02 |Nancy Youngblood First State ...4527 $54.00 43  P438
Total 02 _ $43,220.33
P Tl
01/21/03 | Valerie Steel BofA ...2936 $30.00 |Payable to John Nieto 38 : P4964 |
01/27/03 |Gwen Adickes BofA ...2936 $25.00 | 38 P4956
01/27/03 |Karen Summers BofA ...2936 $20.00 P4958 |
01/27/03 |Michael Garfias BofA ...2936 $50.00 P4957
| 01/27/03 | Tim Erwin [BofA ...2936 $50.00 3B P4954
| 02/04/03 | Merrick Bank Corp First State ...4527 $4.00 (143 P443, P444
| 02/18/03 _|Lamar Companies BofA ...2936 $1,700.00 38 | P4995
02/18/08 ee ee ($1,700.00) Claimed as income on Schedule C [85 | P586, P590 |
02/20/03 _|No Name BofA ...2936 $117.00 38 P4988, P4990
| 02/20/03 _|No Name BofA ...2936 $70.00 38 P4988, P4986)
| 03/03/03 Group 3 Promotions BofA ...2936 $150.00 38 P4978, P4979
| 04/01/03 Ayla Jarvis First State ...4527 $1,275.00 |Wire Transfer In 43 P12
| 04/07/03 IRS Proceeds BofA ...2936 $644.80 ‘|38 P154
04/07/03 [Overdraft Fee Refund BofA ...2265 $56.00 37 203
04/07/03 | Photocopy Statement BofA ...2265 $5.00 | 37 203
04/07/03 |Refund IRS Proceeds BofA ...2265 $2,256.58 37 202.
04/08/03 (Overdraft Fee Refund BofA ...2265 | $84.00 37 203
04/30/03 |Paychex Tps BofA ...2265 $69.85 37 203
05/12/03 {Group 3 Promations. BofA ...2936 $375.00 38 Section 2 195, 196
| 06/20/03 |State of Colorado First State ...4527 $33.00 43 P467
07/22/03 iFirst American Title BofA ...2936 $93.00 38 Section 2 218, 220
07/22/03 |New Mexico Casualty BofA ...2936 $67.57 38 Section 2 218, 219
08/18/03 {Nicolas George BofA ...2936 $200.00 i388 Section 2 228, 230

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Schedule of Non-Income Deposits (All Bank Accounts) M. Albers

Dana Jarvis 11-15-06
1999 - 2005
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“Date” Description me, Se == Aecount -_ Amount ~ _ gla . Reference -~-« Page #
09/0 708/03 _|Dennis Narvarez BofA ...2936 $12.00 138 Section 2 241, 242
09/22/03 {Lamar Companies BofA .. 2936 / $800.00 '38 P4805, P4806
09/22/03 LOE cg ($800.00) | Claimed as income on Schedule C_ [85 P586, P590
10/01/03 Samuel Jones ist t State . 3801 $333.33 44 254
11/05/03 |Samuel Jones First State ...4527 $333.00 43 P495, P496
Total 03 | $6,354.13
«|
02/02/04 |Pima County Sheriff's Dept First State ...4527 $1,310.40 |Mathew Hothan 43 P513
02/17/04_jLamar Companies - . |BofA .. 2936 _|_ $2,500.00 |38 P687, P688
02/17/04 = Se a ~~" ($2,500.00)|Claimed as income on Schedule C (85 468, 490
02/27/04 Samuel Jones — First State ...4527 $1,000.00 43 P518, P519
03/08/04 |Comcast Financial BofA ...2936 $5.28 38 P702, P703
03/19/04 |Household Bank One ...5157 $1,582.00 52A 149, 150
03/19/04 |Riane Markley (Arianne) 1st State ...3801 $4,500.00 |Wire Transfer In 144 40
04/01/04 | Paychex Tps BofA ...2265 $179.36 |37 236
04/19/04 |Brenda Willams Bota ..-2936 $50.00 (38 | P724, P725
04/26/04 |State of New Mexico iBofA ...2936 $50.00 | Payable to John Nieto 138 | P734, P736_|
| 04/30/04 | Paychex Tps BofA ...2265 $24.92 37 | 237
06/07/04 |G. Roger McNew BofA ...2936 $30.00 38 P782, P783
06/07/04 |U.S. Treasury BofA ...2936 | $29.00 38 P782, P784
06/21/04 |New Mexico Mutual BofA ...2936 $56.67 38 P790, P791
07/12/04 | Tim Clark ‘|BofA ...2936 | $90.00 138 P803, P804
07/15/04 |Dish Network [Bank One ...5861 $51.80 [52B 188, 190
07/26/04 |Jean Arya BofA ...2936 $30.00 |Marian Belt Test - John Nieto 38 P810, P811 |
07/26/04 |Professional Security Consultants |BofA ...2936 $45.60 38 P8i0, P813
07/26/04 |Rachel Williams BofA ...2936 $50.00 |Karate Class - John Nieto 38 P810, P812
07/30/04 |Paychex Tps BofA ...2265 $62.58 \37 | 248
08/23/04 |Albert Trujillo First State ...4527 $5,000.00 | | 43 P33, P34
08/23/04 | Brenda Willams BofA ...2936 $50.00 38 P829, P832
08/24/04 |Card Purchase Return — Bank One ...5861 $834.17 52B 39
09/14/04 |Southwest Airlines First State ...4527 $111.60 43 P41 _|
09/20/04 |Rachel Williams IBofA ...2936 $50.00 | Karate Class - John Nieto 38 P843, P844
10/04/04 |Rachel Williams IBofA ...2936 | $50.00 |Karate Class - John Nieto 38 | P850, P852

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Schedule of Non-Income Deposits (All Bank Accounts) M. Albers
Dana Jarvis 11-15-06
1999 - 2005
Date. Description - gS nt Remarks _ Reference. __ Page # |
10/12/04 |Barbara Breed $6.00 38 P857, P859
| 10/25/04 | Rachel Williams $30.00 | Belt Test - John Nieto 38 P864, P866
11/03/04 | Rachel Williams $50.00 |Karate Class - John Nieto 38 P868, P870
11/22/04 |New Mexico Mutual $536.00 38 P878, P882
11/29/04 |Overdraft Fee Refund $51.00 | 37 263
12/13/04 |LaMontanita Food Co-Op $5.95 38 P8g99, P901
12/31/04 [Circle K Money Order $15.00 | Terry Rose 43 | P60, P61 |
12/31/04 |James Webb First State ...4527 $995.00 143 P6O, P61
Total 04 $16,932.33
01/12/05 |James Webb First State ...4527 $995.00 |NSF 43 P69
01/18/05 |Transfer BofA ...2265 $500.00 |From ...2936 37 271
01/31/05 |Continental Steel First State ...4527 $700.00 43 P68
02/07/05 |Continental Steel First State ...4527 $700.00 43 P379
| 02/15/05 | State of Colorado First State ...4527 $32.44 | 43 P380, Psat |
02/15/05 | State of Colorado First State ...4527 $15.57 43 P380, P381
02/15/05 | State of Colorado First State ...4527 $78.87 43 P380
| 03/02/05 | Beneficial First State ...4527 $6,000.37 43 P381
04/05/05 | Barbara Hanna First State ...4527 $5,000.00 |Payable to Pat Berssen 43 P387
04/19/05 |Paychex Tps BofA ...2265 $17.45 37 | 435
05/06/05 |Return of Posted Check BofA ...2265 $22.00 37 437
05/24/05 |Jean Sweeney / LaRosa Healthcarg Bank One ...5157 $16,697.00 52A 15, 16
05/25/05 |New Mexico Casualty First State ...4527 $573.00 43 P400
06/02/05 |Return of Posted Check BofA ...2265 $15.00 37 439
06/03/05 |Return of Posted Check BofA ...2265 $15.00 37 439
07/19/05 ‘Continental Steel First State ...4527 $1,350.00 43 P556, P558
07 19/05 |Ingri McCarley First State ...4527 $200.00 43 P556, P557 |
07/22/05 |Beneficial First State ...4527 $39.45 43 P559, P560
Total 05 $32,951.15

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